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                       Ex. 1
    [SEALED] Affidavit of Sandro José de Souza
        (Motion to Seal filed April 11, 2018)
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               AFFIDAVIT OF SANDRO JOSE DE SOUZA

1. I have lived in the United States since 1997. I live with my wife, Carmen Luz
   Sanchez and my 20-year-old son, Sandro, Jr. Carmen is a United States
   citizen and Sandro, Jr. is a lawful permanent resident.

2. I am terrified of what will happen to my family if I have to leave the United
   States for an indefinite period. Financially, it is difficult to imagine how we
   could all get through it. But that is not what sca1·es me the most.


3. The uncertainty over my immigration situation has always been a dark cloud
   hanging over my family's life. Because of it, we have never known peace.

4. When my stay was denied last year, and when I was told this year to report
   to ICE with a plane ticket, that unrest intensified. In March, when my I-130
   was finally approved after more than seven years, I thought that I would
   finally be allowed to pursue my lawful status.

5. I appeared at my March 20, 2018 check-in with my plane ticket as required.
   But I was sure that the immigration officer would see my I-130 approval and
   change his mind.

6. Instead, he said his boss was President Trump. That day, I was made to wear
   a GPS tracking device and given instructions to meet an ICE officer at the
   airport on April 24, 2018. For my family, the world completely fell apart.

7. The United States is the only country my son has ever known. His mother
   abandoned him when he was a baby in Brazil, and he has lived in the United
   States with me since he was one. The two of us were a unit. Since he was a
   kid, my son has tagged along to immigration court, ICE check-ins, and
   lawyers' visits. My son has always had a deep sadness to him. In school, he
   always had trouble learning. He struggles with depression, and I often catch
   him in his room crying and crying.

8. Carmen and I have been together since 2009 and married in 2011. She, too,
   has had many struggles in her life. In each other, we have finally found the
   loving and supportive companions that we did not have earlier in our lives.
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   9. My wife has a very difficult time bearing with the stress of my situation.



   10. Since March 20, every day has been a struggle. I keep thinking about getting
       to Brazil with no job and leaving my wife and son alone and with nothing. My
       wife and son are completely dependent on me emotionally. I try to tell them
       that everything will be ok, but I, too, am terrified of what might happen to us.

Singed under pains and penalties of perjury on April 7, 2018.

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c'fS
Sandro Jose de�
